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                                                    U.S. District Court
                                            District of Delaware (Wilmington)
                                     CIVIL DOCKET FOR CASE #: 1:20-cv-01085-MN


 Gilmore v. Monsanto Company                                                          Date Filed: 08/19/2020
 Assigned to: Judge Maryellen Noreika                                                 Jury Demand: Plaintiff
 Demand: $5,000,000                                                                   Nature of Suit: 370 Other Fraud
 Cause: 28:1332 Diversity-Fraud                                                       Jurisdiction: Diversity
 Plaintiff
 Scott Gilmore                                                           represented by William J. Rhodunda , Jr.
                                                                                        Rhodunda Williams & Kondraschow
                                                                                        1521 Concord Pike, Suite 205
                                                                                        Wilmington, DE 19803
                                                                                        (302) 576-2000
                                                                                        Email: bill@rawlaw.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Chandra Joan Williams
                                                                                      Rhodunda Williams & Kondraschow
                                                                                      1521 Concord Pike, Suite 205
                                                                                      Wilmington, DE 19803
                                                                                      302-576-2000
                                                                                      Fax: 302-576-2004
                                                                                      Email: Chandra@rawlaw.com
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Gillian L. Wade
                                                                                      Email: gwade@mjfwlaw.com
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Marc A. Castaneda
                                                                                      Email: mcastaneda@mjfwlaw.com
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Sara D. Avila
                                                                                      Email: savila@mjfwlaw.com
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

 Plaintiff
 Julio Ezcurra                                                           represented by William J. Rhodunda , Jr.
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Chandra Joan Williams   EXHIBIT
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
                                                                                                                          3
 Plaintiff

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 Sherry Hanna                                                            represented by William J. Rhodunda , Jr.
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Chandra Joan Williams
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

 Plaintiff
 Kristy Williams                                                         represented by William J. Rhodunda , Jr.
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Chandra Joan Williams
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

 Plaintiff
 Amanda Boyette                                                          represented by William J. Rhodunda , Jr.
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Chandra Joan Williams
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

 Plaintiff
 James Weeks                                                             represented by William J. Rhodunda , Jr.
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Chandra Joan Williams
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

 Plaintiff
 Anthony Jewell                                                          represented by William J. Rhodunda , Jr.
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Chandra Joan Williams
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

 Plaintiff
 Paul Taylor                                                             represented by William J. Rhodunda , Jr.
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Chandra Joan Williams
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED


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 V.
 Defendant
 Monsanto Company                                                        represented by Jeff Wilkerson
                                                                                        Email: jwilkerson@winston.com
                                                                                        PRO HAC VICE
                                                                                        ATTORNEY TO BE NOTICED

                                                                                       John J. Rosenthal
                                                                                       Email: jrosenthal@winston.com
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Kelly E. Farnan
                                                                                       Richards, Layton & Finger, PA
                                                                                       One Rodney Square
                                                                                       Suite 600
                                                                                       920 N. King Street
                                                                                       Wilmington, DE 19801
                                                                                       (302) 651-7705
                                                                                       Email: farnan@rlf.com
                                                                                       ATTORNEY TO BE NOTICED

 Intervenor
 Ryan Tomlinson                                                          represented by Cortlan S. Hitch
                                                                                        Morris James LLP
                                                                                        500 Delaware Ave
                                                                                        Ste 1500
                                                                                        Wilmington, DE 19801
                                                                                        302-888-6988
                                                                                        Fax: 302-571-1750
                                                                                        Email: chitch@morrisjames.com
                                                                                        ATTORNEY TO BE NOTICED

                                                                                       Don M. Downing
                                                                                       Email: ddowning@grgpc.com
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Gretchen A. Garrison
                                                                                       Email: ggarrison@grgpc.com
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Patrick J. Stueve
                                                                                       Email: stueve@stuevesiegel.com
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Todd E. Hilton
                                                                                       Email: hilton@stuevesiegel.com
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

 Intervenor
 Carol Richardson                                                        represented by Cortlan S. Hitch
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

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                                                                                  Don M. Downing
                                                                                  (See above for address)
                                                                                  PRO HAC VICE
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Gretchen A. Garrison
                                                                                  (See above for address)
                                                                                  PRO HAC VICE
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Patrick J. Stueve
                                                                                  (See above for address)
                                                                                  PRO HAC VICE
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Todd E. Hilton
                                                                                  (See above for address)
                                                                                  PRO HAC VICE
                                                                                  ATTORNEY TO BE NOTICED


  Date Filed          #     Docket Text
  08/19/2020          1 COMPLAINT filed with Jury Demand against Monsanto Company - Magistrate Consent Notice to Pltf.
                        ( Filing fee $ 400, receipt number ADEDC-3140065.) - filed by Scott Gilmore. (Attachments: # 1
                        Exhibit A, # 2 Civil Cover Sheet)(myr) (Entered: 08/19/2020)
  08/19/2020          2 Notice, Consent and Referral forms re: U.S. Magistrate Judge jurisdiction. (myr) (Entered: 08/19/2020)
  08/19/2020                No Summons Issued. (myr) (Entered: 08/19/2020)
  08/19/2020          4 MOTION for Pro Hac Vice Appearance of Attorney Gillian L. Wade, Esq.; Sara D. Avila, Esq. and
                        Marc A. Castaneda, Esq. - filed by Scott Gilmore. (Attachments: # 1 Affidavit Certificates of Gillian L.
                        Wade, Esq; Sara D. Avila, Esq and Marc A. Castaneda, Esq. to be Admitted Pro Hac Vice)(Williams,
                        Chandra) (Entered: 08/19/2020)
  08/19/2020                CORRECTING ENTRY: Counsel improperly filed summons to be issued at D.I. 3. This docket entry
                            has since been deleted. (kmd) (Entered: 08/19/2020)
  08/20/2020          5 Return of Service Executed by Scott Gilmore. Monsanto Company served on 8/20/2020, answer due
                        9/10/2020. (Williams, Chandra) (Entered: 08/20/2020)
  08/26/2020                Case Assigned to Judge Maryellen Noreika. Please include the initials of the Judge (MN) after the case
                            number on all documents filed. (rjb) (Entered: 08/26/2020)
  08/27/2020                SO ORDERED re 4 MOTION for Pro Hac Vice Appearance of Attorney Gillian L. Wade, Esq.; Sara
                            D. Avila, Esq. and Marc A. Castaneda, Esq. filed by Scott Gilmore. ORDERED by Judge Maryellen
                            Noreika on 8/27/2020. (dlw) (Entered: 08/27/2020)
  09/04/2020          6 STIPULATION TO EXTEND TIME to move, answer or otherwise respond to the Complaint to
                        October 19, 2020 - filed by Monsanto Company. (Farnan, Kelly) (Entered: 09/04/2020)
  09/04/2020          7 MOTION for Pro Hac Vice Appearance of Attorney John J. Rosenthal and Jeff Wilkerson - filed by
                        Monsanto Company. (Farnan, Kelly) (Entered: 09/04/2020)
  09/08/2020                SO ORDERED re 6 STIPULATION TO EXTEND TIME to move, answer or otherwise respond to the
                            Complaint to October 19, 2020 (Set/Reset Answer Deadlines: Monsanto Company answer due
                            10/19/2020). ORDERED by Judge Maryellen Noreika on 9/8/2020. (dlw) (Entered: 09/08/2020)
  09/08/2020                SO ORDERED re 7 MOTION for Pro Hac Vice Appearance of Attorney John J. Rosenthal and Jeff
                            Wilkerson filed by Monsanto Company. ORDERED by Judge Maryellen Noreika on 9/8/2020. (dlw)
                            (Entered: 09/08/2020)
  09/14/2020                Pro Hac Vice Attorney Jeff Wilkerson for Monsanto Company added for electronic noticing. Pursuant
                            to Local Rule 83.5 (d)., Delaware counsel shall be the registered users of CM/ECF and shall be
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                           required to file all papers. (kmd) (Entered: 09/14/2020)
  09/14/2020               Pro Hac Vice Attorney John J. Rosenthal for Monsanto Company added for electronic noticing.
                           Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the registered users of CM/ECF and shall
                           be required to file all papers. (kmd) (Entered: 09/14/2020)
  10/02/2020          8 MOTION for Pro Hac Vice Appearance of Attorney Joel Oster - filed by Scott Gilmore. (Williams,
                        Chandra) (Entered: 10/02/2020)
  10/05/2020               SO ORDERED re 8 MOTION for Pro Hac Vice Appearance of Attorney Joel Oster filed by Scott
                           Gilmore. ORDERED by Judge Maryellen Noreika on 10/5/2020. (dlw) (Entered: 10/05/2020)
  10/19/2020          9 STIPULATION TO EXTEND TIME re: Answer to Complaint to December 3, 2020 - filed by
                        Monsanto Company. (Farnan, Kelly) (Entered: 10/19/2020)
  10/19/2020               SO ORDERED re 9 STIPULATION TO EXTEND TIME to answer, move, or otherwise respond to the
                           Complaint to December 3, 2020 (Set/Reset Answer Deadlines: Monsanto Company answer due
                           12/3/2020). ORDERED by Judge Maryellen Noreika on 10/19/2020. (dlw) (Entered: 10/19/2020)
  12/03/2020         10 MOTION to Dismiss for Lack of Jurisdiction Over the Subject Matter and Failure to State a Claim -
                        filed by Monsanto Company. (Attachments: # 1 Text of Proposed Order Proposed Order)(Farnan,
                        Kelly) Modified on 12/4/2020 (dlw). (Entered: 12/03/2020)
  12/03/2020         11 OPENING BRIEF in Support re 10 MOTION to Dismiss for Lack of Jurisdiction Over the Subject
                        Matter and Failure to State a Claim filed by Monsanto Company. Answering Brief/Response due date
                        per Local Rules is 12/17/2020. (Farnan, Kelly) Modified on 12/4/2020 (dlw). (Entered: 12/03/2020)
  12/03/2020         12 DECLARATION of Kelly E. Farnan re 10 MOTION to Dismiss for Lack of Jurisdiction Over the
                        Subject Matter and Failure to State a Claim by Monsanto Company. (Attachments: # 1 Exhibit A-G)
                        (Farnan, Kelly) Modified on 12/4/2020 (dlw). (Entered: 12/03/2020)
  12/14/2020         13 STIPULATION TO EXTEND TIME Plaintiff's deadline to file First Amended Complaint to January
                        12, 2021 - filed by Scott Gilmore. (Williams, Chandra) (Entered: 12/14/2020)
  12/14/2020               SO ORDERED re 13 STIPULATION TO EXTEND TIME for Plaintiff to file First Amended
                           Complaint to January 12, 2021. ORDERED by Judge Maryellen Noreika on 12/14/2020. (dlw)
                           (Entered: 12/14/2020)
  01/12/2021         14 First AMENDED COMPLAINT against All Defendants - filed by Scott Gilmore.(Williams, Chandra)
                        Modified on 1/13/2021 (dlw). (Additional attachment(s) added on 1/13/2021: # 1 Redline Comparison)
                        (dlw). (Entered: 01/12/2021)
  01/26/2021         15 MOTION to Dismiss First Amended Complaint for Lack of Jurisdiction Over the Subject Matter - filed
                        by Monsanto Company. (Attachments: # 1 Text of Proposed Order Proposed Order)(Farnan, Kelly)
                        Modified on 1/27/2021 (dlw). (Entered: 01/26/2021)
  01/26/2021         16 OPENING BRIEF in Support re 15 MOTION to Dismiss First Amended Complaint for Lack of
                        Jurisdiction Over the Subject Matter filed by Monsanto Company. Answering Brief/Response due date
                        per Local Rules is 2/9/2021. (Farnan, Kelly) Modified on 1/27/2021 (dlw). (Entered: 01/26/2021)
  01/26/2021         17 DECLARATION of Kelly E. Farnan re 15 MOTION to Dismiss First Amended Complaint for Lack of
                        Jurisdiction Over the Subject Matter by Monsanto Company. (Attachments: # 1 Exhibit A-G)(Farnan,
                        Kelly) Modified on 1/27/2021 (dlw). (Entered: 01/26/2021)
  02/09/2021         18 ANSWERING BRIEF in Opposition re 15 MOTION to Dismiss First Amended Complaint for Lack of
                        Jurisdiction Over the Subject Matter filed by Scott Gilmore.Reply Brief due date per Local Rules is
                        2/16/2021. (Williams, Chandra) (Entered: 02/09/2021)
  02/16/2021         19 REPLY BRIEF re 15 MOTION to Dismiss First Amended Complaint for Lack of Jurisdiction Over the
                        Subject Matter filed by Monsanto Company. (Farnan, Kelly) (Entered: 02/16/2021)
  03/31/2021         20 NOTICE of Change of Address by Chandra Joan Williams (Williams, Chandra) (Entered: 03/31/2021)
  06/10/2021         21 STIPULATION for Leave to File Second Amended Complaint re 14 Amended Complaint, 1 Complaint
                        by Scott Gilmore. (Attachments: # 1 Exhibit A to Stipulation (Second Amended Complaint), # 2
                        Exhibit B to Stipulation (blackline))(Williams, Chandra) (Entered: 06/10/2021)

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  06/11/2021               SO ORDERED re 21 Stipulation for Leave to File Second Amended Complaint. ORDERED by Judge
                           Maryellen Noreika on 6/11/2021. (dlw) (Entered: 06/11/2021)
  06/11/2021         22 SECOND AMENDED COMPLAINT against Monsanto Company- filed by Scott Gilmore, Julio
                        Ezcurra, Sherry Hanna, Kristy Williams, Amanda Boyette, James Weeks, Anthony Jewell, Paul Taylor.
                        (Attachments: # 1 Exhibit A)(dlw) (Entered: 06/11/2021)
  06/11/2021         23 ORAL ORDER re 15 MOTION to Dismiss First Amended Complaint for Lack of Jurisdiction Over the
                        Subject Matter - In light of 22 Plaintiffs' Second Amended Complaint, the Court DENIES as MOOT 15
                        Defendant's Motion to Dismiss as it relates to 14 the First Amended Complaint. ORDERED by Judge
                        Maryellen Noreika on 6/11/2021. (dlw) (Entered: 06/11/2021)
  06/14/2021               CORRECTING ENTRY: D.I. 24, 25, & 26 have been deleted from the docket. Counsel shall adjust the
                           footnote font size to 12-point and shall re-file the documents in the proper way (motion, brief,
                           declarations all as separate filings). (dlw) (Entered: 06/14/2021)
  06/14/2021         24 MOTION to Certify Class for the Purpose of Settlement and for Preliminary Approval of Class Action
                        Settlement - filed by Amanda Boyette, Julio Ezcurra, Scott Gilmore, Sherry Hanna, Anthony Jewell,
                        Paul Taylor, James Weeks, Kristy Williams. (Attachments: # 1 Text of Proposed Order)(Williams,
                        Chandra) Modified on 6/15/2021 (dlw). (Entered: 06/14/2021)
  06/14/2021         25 MEMORANDUM in Support re 24 MOTION to Certify Class for the Purpose of Settlement and for
                        Preliminary Approval of Class Action Settlement filed by Amanda Boyette, Julio Ezcurra, Scott
                        Gilmore, Sherry Hanna, Anthony Jewell, Paul Taylor, James Weeks, Kristy Williams. Answering
                        Brief/Response due date per Local Rules is 6/28/2021. (Williams, Chandra) Modified on 6/15/2021
                        (dlw). (Entered: 06/14/2021)
  06/14/2021         26 DECLARATION of Gillian L. Wade re 24 MOTION to Certify Class for the Purpose of Settlement and
                        for Preliminary Approval of Class Action Settlement, 25 MEMORANDUM in Support by Amanda
                        Boyette, Julio Ezcurra, Scott Gilmore, Sherry Hanna, Anthony Jewell, Paul Taylor, James Weeks,
                        Kristy Williams. (Attachments: # 1 Exhibit 1)(Williams, Chandra) Modified on 6/15/2021 (dlw).
                        (Entered: 06/14/2021)
  06/14/2021         27 DECLARATION of United States Magistrate Judge Diane Welsh (Ret.) re 24 MOTION to Certify
                        Class for the Purpose of Settlement and for Preliminary Approval of Class Action Settlement, 25
                        MEMORANDUM in Support by Amanda Boyette, Julio Ezcurra, Scott Gilmore, Sherry Hanna,
                        Anthony Jewell, Paul Taylor, James Weeks, Kristy Williams. (Williams, Chandra) Modified on
                        6/15/2021 (dlw). (Entered: 06/14/2021)
  06/14/2021         28 DECLARATION of Brandon Schwartz Regarding Proposed Notice Plan re 24 MOTION to Certify
                        Class for the Purpose of Settlement and for Preliminary Approval of Class Action Settlement, 25
                        MEMORANDUM in Support by Amanda Boyette, Julio Ezcurra, Scott Gilmore, Sherry Hanna,
                        Anthony Jewell, Paul Taylor, James Weeks, Kristy Williams. (Williams, Chandra) Modified on
                        6/15/2021 (dlw). (Additional attachment(s) added on 6/15/2021: # 1 Exhibit A - E) (dlw). (Entered:
                        06/14/2021)
  06/14/2021         29 DECLARATION of D.C. Sharp, PhD re 24 MOTION to Certify Class for the Purpose of Settlement
                        and for Preliminary Approval of Class Action Settlement, 25 MEMORANDUM in Support by Amanda
                        Boyette, Julio Ezcurra, Scott Gilmore, Sherry Hanna, Anthony Jewell, Paul Taylor, James Weeks,
                        Kristy Williams. (Williams, Chandra) Modified on 6/15/2021 (dlw). (Entered: 06/14/2021)
  06/14/2021         30 DECLARATION of Kristina Shampanier re 24 MOTION to Certify Class for the Purpose of
                        Settlement and for Preliminary Approval of Class Action Settlement, 25 MEMORANDUM in Support
                        by Amanda Boyette, Julio Ezcurra, Scott Gilmore, Sherry Hanna, Anthony Jewell, Paul Taylor, James
                        Weeks, Kristy Williams. (Attachments: # 1 Exhibit A)(Williams, Chandra) Modified on 6/15/2021
                        (dlw). (Entered: 06/14/2021)
  06/14/2021         31 UNOPPOSED MOTION for Leave to File Excess Pages regarding Plaintiffs' Memorandum in Support
                        of Plaintiffs' Motion for Preliminary Approval of Class Action Settlement and for Certification of the
                        Class for Purposes of Settlement [DI 24] - filed by Amanda Boyette, Julio Ezcurra, Scott Gilmore,
                        Sherry Hanna, Anthony Jewell, Paul Taylor, James Weeks, Kristy Williams. (Williams, Chandra)
                        Modified on 6/15/2021 (dlw). (Entered: 06/14/2021)
  06/14/2021         32 Joint MOTION to Stay all Related Proceedings re 24 MOTION to Certify Class for the Purpose of
                        Settlement and for Preliminary Approval of Class Action Settlement, 25 MEMORANDUM in Support
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                           - filed by Amanda Boyette, Julio Ezcurra, Scott Gilmore, Sherry Hanna, Anthony Jewell, Paul Taylor,
                           James Weeks, Kristy Williams. (Williams, Chandra) Modified on 6/15/2021 (dlw). (Entered:
                           06/14/2021)
  06/14/2021         33 MEMORANDUM in Support re 32 Joint MOTION to Stay All Related Proceedings re 24 MOTION to
                        Certify Class for the Purpose of Settlement and for Preliminary Approval of Class Action Settlement,
                        25 MEMORANDUM in Support filed by Amanda Boyette, Julio Ezcurra, Scott Gilmore, Sherry
                        Hanna, Anthony Jewell, Paul Taylor, James Weeks, Kristy Williams. Answering Brief/Response due
                        date per Local Rules is 6/28/2021. (Williams, Chandra) Modified on 6/15/2021 (dlw). (Entered:
                        06/14/2021)
  06/15/2021               SO ORDERED re 31 UNOPPOSED MOTION for Leave to File Excess Pages regarding Plaintiffs'
                           Memorandum in Support of Plaintiffs' Motion for Preliminary Approval of Class Action Settlement
                           and for Certification of the Class for Purposes of Settlement. ORDERED by Judge Maryellen Noreika
                           on 6/15/2021. (dlw) (Entered: 06/15/2021)
  06/15/2021               CORRECTING ENTRY: Exhibit A - E have been added to D.I. 28 - Schwartz Declaration. (dlw)
                           (Entered: 06/15/2021)
  06/21/2021         34 Letter to Honorable Maryellen Noreika from Kenneth L. Dorsney regarding Intention to Intervene.
                        (Attachments: # 1 Exhibit Exhibit 1)(Dorsney, Kenneth) (Entered: 06/21/2021)
  06/24/2021         35 Supplemental DECLARATION of D.C. Sharp, PhD. re 24 MOTION to Certify Class for the Purpose
                        of Settlement and for Preliminary Approval of Class Action Settlement, 29 Declaration by Amanda
                        Boyette, Julio Ezcurra, Scott Gilmore, Sherry Hanna, Anthony Jewell, Paul Taylor, James Weeks,
                        Kristy Williams. (Williams, Chandra) Modified on 6/25/2021 (dlw). (Entered: 06/24/2021)
  06/24/2021         36 Letter to The Honorable Maryellen Noreika from Kelly E. Farnan regarding response to Mr. Dorsney's
                        June 21, 2021 letter regarding motion to intervene - re 34 Letter. (Farnan, Kelly) (Entered: 06/24/2021)
  06/28/2021         37 ANSWERING BRIEF in Opposition re 24 MOTION to Certify Class for the Purpose of Settlement and
                        for Preliminary Approval of Class Action Settlement filed by Jason Rinehart.Reply Brief due date per
                        Local Rules is 7/6/2021. (Ennis, Sarah) (Entered: 06/28/2021)
  06/28/2021         38 DECLARATION of Jason Rinehart re 37 Answering Brief in Opposition by Jason Rinehart. (Ennis,
                        Sarah) Modified on 6/29/2021 (dlw). (Entered: 06/28/2021)
  06/28/2021         39 MOTION to Intervene - filed by Ryan Tomlinson, Carol Richardson. (Attachments: # 1 Text of
                        Proposed Order)(Hitch, Cortlan) (Entered: 06/28/2021)
  06/28/2021         40 MOTION for Leave to File Excess Pages - filed by Carol Richardson, Ryan Tomlinson. (Hitch,
                        Cortlan) (Entered: 06/28/2021)
  06/28/2021         41 OPENING BRIEF in Support re 39 MOTION to Intervene filed by Carol Richardson, Ryan
                        Tomlinson.Answering Brief/Response due date per Local Rules is 7/12/2021. (Attachments: # 1
                        Exhibit A, # 2 Exhibit B)(Hitch, Cortlan) Modified on 6/29/2021 (dlw). (Attachment 1 replaced on
                        6/29/2021) (dlw). (Entered: 06/28/2021)
  06/29/2021         42 MOTION for Pro Hac Vice Appearance of Attorney Elizabeth Fegan, of Fegan Scott LLC - filed by
                        Jason Rinehart. (Ennis, Sarah) (Entered: 06/29/2021)
  06/29/2021               CORRECTING ENTRY: Attachment #1 to D.I. 41 has been replaced on the docket to add slip sheets to
                           the exhibits to Exhibit A. (dlw) (Entered: 06/29/2021)
  06/29/2021         43 MOTION for Pro Hac Vice Appearance of Attorney Don M. Downing, Attorney Gretchen A. Garrison,
                        Attorney Todd E. Hilton, and Attorney Patrick J. Stueve - filed by Carol Richardson, Ryan Tomlinson.
                        (Hitch, Cortlan) (Entered: 06/29/2021)
  06/29/2021               SO ORDERED re 42 MOTION for Pro Hac Vice Appearance of Attorney Elizabeth Fegan, of Fegan
                           Scott LLC filed by Jason Rinehart. ORDERED by Judge Maryellen Noreika on 6/29/2021. (dlw)
                           (Entered: 06/29/2021)
  06/29/2021               SO ORDERED re 43 MOTION for Pro Hac Vice Appearance of Attorney Don M. Downing, Attorney
                           Gretchen A. Garrison, Attorney Todd E. Hilton, and Attorney Patrick J. Stueve filed by Ryan
                           Tomlinson, Carol Richardson. ORDERED by Judge Maryellen Noreika on 6/29/2021. (dlw) (Entered:
                           06/29/2021)

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  06/30/2021               Pro Hac Vice Attorney Gretchen A. Garrison, Don M. Downing, Patrick J. Stueve, Todd E. Hilton for
                           Carol Richardson; Pro Hac Vice Attorney Gretchen A. Garrison, Don M. Downing, Patrick J. Stueve,
                           Todd E. Hilton for Ryan Tomlinson added for electronic noticing. Pursuant to Local Rule 83.5 (d).,
                           Delaware counsel shall be the registered users of CM/ECF and shall be required to file all papers. (twk)
                           (Entered: 06/30/2021)
  06/30/2021         44 DECLARATION of Gretchen Garrison re 41 Opening Brief in Support, 39 MOTION to Intervene by
                        Carol Richardson, Ryan Tomlinson. (Hitch, Cortlan) Modified on 6/30/2021 (dlw). (Entered:
                        06/30/2021)
  07/01/2021         45 NOTICE of Supplemental Authority by Carol Richardson, Ryan Tomlinson (Dorsney, Kenneth)
                        (Entered: 07/01/2021)
  07/12/2021         46 ANSWERING BRIEF in Opposition re 39 MOTION to Intervene filed by Amanda Boyette, Julio
                        Ezcurra, Scott Gilmore, Sherry Hanna, Anthony Jewell, Paul Taylor, James Weeks, Kristy
                        Williams.Reply Brief due date per Local Rules is 7/19/2021. (Kondraschow, Nicholas) (Entered:
                        07/12/2021)
  07/12/2021         47 ANSWERING BRIEF in Opposition re 39 MOTION to Intervene filed by Monsanto Company.Reply
                        Brief due date per Local Rules is 7/19/2021. (Farnan, Kelly) (Entered: 07/12/2021)
  07/12/2021         48 DECLARATION re 47 Answering Brief in Opposition John J. Rosenthal by Monsanto Company.
                        (Attachments: # 1 Exhibit A-F)(Farnan, Kelly) (Entered: 07/12/2021)
  07/14/2021         49 Letter to The Honorable Maryellen Noreika from Kelly E. Farnan regarding Rinehart Opposition - re
                        37 Answering Brief in Opposition,. (Farnan, Kelly) (Entered: 07/14/2021)
  07/14/2021               Pro Hac Vice Attorneys Marc A. Castaneda, Gillian L. Wade, Sara D. Avila for Scott Gilmore added
                           for electronic noticing. Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the registered users
                           of CM/ECF and shall be required to file all papers. (twk) (Entered: 07/14/2021)



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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


 SCOTT GILMORE,

       Plaintiff,                                Case No.:

 vs.                                             JURY TRIAL DEMANDED

 MONSANTO COMPANY,

       Defendant.



                                        COMPLAINT

       Plaintiff, SCOTT GILMORE (“Plaintiff”), individually, and on behalf of all others

similarly situated, by and through the undersigned counsel, hereby brings this Class Action

Complaint against Defendant, MONSANTO COMPANY (“Defendant” or “Monsanto”) and

alleges as follows:

                                      INTRODUCTION

       1.    This case arises from Monsanto’s wrongful conduct in connection with its

manufacture, promotion, marketing, advertising, distribution, labeling, and sale of the Lawn and

Garden herbicide Roundup®, which contains the active ingredient glyphosate and other chemicals,

including the surfactant polyethoxylated tallow amine (“POEA”).

       2.    At all relevant times, Monsanto was and is aware Roundup® has the potential to

cause users to develop cancer. Monsanto is aware glyphosate is a Class 2A herbicide, meaning the

World Health Organization’s (“WHO”) International Agency for Research on Cancer (“IARC”)

has determined it is probably carcinogenic to humans.



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       3.    Monsanto is also aware California has classified glyphosate as a chemical known to

cause cancer, such as Non-Hodgkin’s lymphoma (“NHL”).

       4.    Monsanto has also known Roundup® and other glyphosate-based herbicides have

been banned by many countries, regions, and municipalities throughout the United States and the

world because it is dangerous to human health.

       5.    Monsanto is the defendant in tens of thousands personal injury cases brought by

individuals who allege exposure to Roundup® caused their cancer. 1 Three juries found Roundup®

likely caused some of those plaintiffs to develop NHL, and awarded nearly $100 million in

compensatory damages and over $2 billion in punitive damages collectively. 2

       6.    Despite Monsanto’s knowledge of Roundup®’s potential carcinogenicity, Monsanto

has failed to convey this information to consumers in its promotion, marketing, advertising,

distribution, labeling, and sale of Roundup®.

       7.    Although the Environmental Protection Agency (“EPA”) under the current

administration has stated glyphosate is not likely to be carcinogenic to humans, Defendant, at the

very least, should inform consumers there has been an ongoing scientific dispute over its potential

carcinogenicity.

       8.    Monsanto’s concealment, suppression, or omission of material facts (i.e. the

possibility that exposure to Roundup may cause cancer and the ongoing scientific debate about

same), with intent that others rely upon such concealment, suppression or omission in connection


1
  Most of these cases were consolidated in a multi-district litigation (“MDL”) before Judge Vince
Chhabria in the Northern District of California and have recently settled for a total of
approximately $10 billion.
2
  As discussed herein, these awards were later reduced by the trial court. One verdict was recently
upheld, and the other two are presently on appeal.

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with its promotion, marketing, advertising, distribution, labeling, and sale of Roundup®,

constitutes a violation of Delaware’s Consumer Fraud Act (“DCFA”), Del. Code Ann. tit. 6, §

2513.

        9.    Defendant’s violation of the DCFA has caused Plaintiff and members of the Class to

suffer an ascertainable loss.

                                  JURISDICTION AND VENUE

        10.   Jurisdiction is proper in this Court pursuant to the Class Action Fairness Act, 28

U.S.C. § 1332(d) (“CAFA”). Defendant is either incorporated and/or has its principal place of

business outside the state in which Plaintiff and members of the proposed Class reside.

Furthermore, there are more than 100 Class Members and the amount-in-controversy exceeds

$5,000,000 exclusive of interest and costs.

        11.   This Court has personal jurisdiction over Defendant because Defendant is a citizen

of Delaware and transacts business in the state. Defendant knows that its Roundup products are

and were sold throughout Delaware, and caused Roundup to be sold across the United States,

including Delaware. In addition, Defendant maintains sufficient contacts with the Delaware such

that this Court’s exercise of personal jurisdiction over it does not offend traditional notions of fair

play and substantial justice.

        12.   Venue is proper in this District under 28 U.S.C. §1391(b) and (c) because Defendant

is a resident of this judicial district and the material omissions giving rise to Plaintiff’s claim arose,

in part, in Delaware.




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                                            PARTIES

       13.   Plaintiff SCOTT GILMORE is an individual who resides in the State of Washington.

Plaintiff seeks injunctive relief and damages on behalf of himself and the Class.

       14.   Defendant MONSANTO is a Delaware corporation, Delaware Department of State

File No. 3174788, with a registered agent of Corporation Service Company, 251 Little Falls Drive,

Wilmington, Delaware 19808, and a principal place of business in St. Louis, Missouri. Defendant

is engaged in the design, development, manufacture, testing, packaging, promoting, marketing,

advertising, distribution, labeling, and/or sale of the Roundup® products at issue in this case.

       15.   Defendant is a subsidiary of nonparty Bayer AG, a German corporation (“Bayer”).

Bayer acquired Monsanto in June 2018 and the merger agreement is governed by Delaware law.

       16.   The terms “Roundup” and the “Product” refer to all Lawn and Garden formulations

of the Roundup® products containing glyphosate sold in the United States, including but not

limited to Roundup Ready-To-Use Killer III, Roundup Ready-To-Use Killer III with Sure Shot

Wand, Roundup Ready-To-Use Weed & Grass Killer III with Comfort Wand, Roundup Ready-

to-Use Weed & Grass Killer III with Pump ‘N Go 2 Sprayer, Roundup Precision Gel Weed &

Grass Killer, Roundup Ready-To-Use Max Control 365 with Comfort Wand, Roundup

Concentrate MAX Control 365, Roundup Ready-To-Use Extended Control Weed & Grass Killer

Plus Weed Preventer II with Comfort Wand, Roundup Ready-To-Use Extended Control Weed &

Grass Killer Plus Weed Preventer II with Pump ‘N Go 2 Sprayer, Roundup Ready-To-Use

Extended Control Weed & Grass Killer Plus Weed Preventer II with Trigger Sprayer, Roundup

Concentrate Extended Control Weed & Grass Killer Plus Weed Preventer, Roundup Ready-To-

Use Poison Ivy Plus Tough Brush Killer with Trigger Sprayer, Roundup Ready-To-Use Poison



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Ivy Plus Tough Brush Killer with Comfort Wand, Roundup Concentrate Poison Ivy Plus Tough

Brush Killer, Roundup Weed & Grass Killer Concentrate Plus, Roundup Weed & Grass Killer

Super Concentrate, or any other formulation thereof containing the active ingredient glyphosate.

        17.   Defendant has an agreement with its distributor of Roundup, nonparty The Scotts

Company, LLC (“Scotts”). Under that agreement, Scotts is responsible for in-store merchandising,

store set-up, and other services related to the in-store promotion of Roundup, in a manner

consistent with Defendant’s Annual Business Plan. The distribution agreement is governed by

Delaware law.

        18.   Defendant has made and continues to make representations regarding Roundup’s

potential health risks through various means of disclosure—for example, representations on its

website, in-store advertising, its labeling of Roundup, and through its distribution relationship with

Scotts. These means of disclosure originate, in part, in the State of Delaware.

        19.   During all relevant times, Defendant transacted and conducted business throughout

the United States and is responsible for the representations it makes, with respect to Roundup’s

potential health risks, throughout the country.

        20.   Defendant does business in Delaware by consistently selecting its law and forums

with respect to Roundup.

                                  FACTUAL ALLEGATIONS

A.       Monsanto’s Manufacturing, Promotion, Marketing, Advertising, Distribution,

         Labeling, and Sale of Roundup.




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        21.   Monsanto was the first company to recognize potential in the chemical glyphosate,

a nonselective herbicide that inhibits plant growth through interference with the production of

essential aromatic amino acids.

        22.   Monsanto discovered glyphosate to be an herbicide in 1970 and brought it into the

market as Roundup in 1974.

        23.   All of the Roundup products at issue in this case contain the active ingredient

glyphosate, and other components, such as the surfactant POEA, 3 which helps glyphosate

penetrate plant cells.

        24.   Roundup is marketed for home and personal use to kill weeds, including weeds in

home lawns and gardens. Roundup is sold at retail locations throughout the United States.

        25.   Monsanto has and continues to promote, market, advertise, and label Roundup as a

safe general-purpose herbicide for consumer use. Monsanto has admitted in other legal

proceedings that Roundup products are valued by consumers because of their efficacy and safety.

        26.   Monsanto’s promotion, marketing, advertising, and labeling of Roundup leads

reasonable consumers into believing Roundup is safe for its intended use.

        27.   Monsanto, for example, designs the labeling for Roundup. Exemplar photographs of

Roundup’s front and back labels for the Roundup Ready-to-Use Weed and Grass Killer III are

attached hereto as “Exhibit A.”




3
 Monsanto considers POEA to be inert because it does not directly kill plants, it merely enhances
glyphosate’s ability to do so.

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        28.    Roundup’s labeling provides certain warnings, such as, “Keep Out of Reach of

Children” and “Caution.” But the only hazard identified is that it may cause “moderate eye

irritation.” See id.

        29.    Roundup’s warning gives the false impression eye irritation is the only risk posed by

Roundup, when in fact, Roundup has the potential to cause cancer, as discussed more fully herein.

B.        The IARC Classification of Glyphosate.

        30.    The IARC is an intergovernmental cancer agency within the WHO which, in 2015,

was tasked with conducting and coordinating research into the causes of cancer as it pertained to

glyphosate.

        31.    In March 2015, an IARC “Working Group” of 17 experts from 11 countries

convened to evaluate several insecticides and herbicides, including diazinon, tetrachlorvinphos,

malathion, parathion, and glyphosate. The evaluation was based on a cumulative review of all

publicly available and pertinent scientific studies. Some of the studies pertained to people exposed

to glyphosate through their jobs, such as farmers. Others were experimental studies on cancer and

cancer-related effects in experimental systems. The IARC Working Group’s full monograph was

published on July 29, 2015.

        32.    In its monograph, the IARC Working Group classified glyphosate as a Class 2A

herbicide, which means it is probably carcinogenic to humans. It concluded NHL was most

associated with glyphosate exposure.

        33.    The IARC also found that glyphosate caused DNA and chromosomal damage in

human cells.




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        34.   The IARC’s conclusions were consistent with scientific developments that had

occurred in prior decades.

C.       Early Studies and Developments Pertaining to Glyphosate and Roundup’s

         Carcinogenicity and Genotoxicity.

        35.   As early as the 1980’s, Monsanto should have been aware of glyphosate’s

carcinogenic and genotoxic properties.

        36.   On March 4, 1985, a group of the EPA’s Toxicology Branch published a “consensus

review” based on a mouse study conducted by Monsanto in 1983. The review “classified

Glyphosate as a Category C oncogen,” meaning it is a possible human carcinogen.

        37.   However in June 1991, EPA published a memorandum entitled, “Second Peer

Review of Glyphosate,” which changed glyphosate’s classification to Group E (evidence of non-

carcinogenicity for humans). Two peer review committee members did not concur with the

conclusions, and the Memorandum itself “emphasized however, that designation of an agent in

Group E is based on the available evidence at the time of evaluation and should not be interpreted

as a definitive conclusion that the agent will not be a carcinogen under any circumstances.”

        38.   In 1996, the New York Attorney General sued Monsanto for false and misleading

advertising by touting its glyphosate-based Roundup products as, e.g., “safer than table salt” and

"practically non-toxic" to mammals, birds, and fish.

        39.   On November 19, 1996, Monsanto entered into an Assurance of Discontinuance with

the New York Attorney General, in which Monsanto agreed to alter the advertising, removing from

advertisements that represent, directly or by implication, that the weed killers were biodegradable




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and environmentally friendly. Monsanto also agreed to pay $50,000 toward New York’s costs of

pursuing the case. At the time, New York was the only state to object to the advertising claims.

       40.   In 1997, Chris Clements, et al. published a study entitled, “Genotoxicity of Select

Herbicides in Rana catesbeiana Tadpoles Using the Alkaline Single-Cell Gel DNA

Electrophoresis (Comet) Assay.” Genotoxicity refers to the property of chemical agents which

cause damage to genetic information within a cell causing mutations, which may lead to cancer. In

Clements’ publication, tadpoles were exposed to various herbicides, including Roundup, for a 24-

hour period. Roundup-treated tadpoles showed “significant DNA damage when compared with

unexposed control animals.”

       41.   In 1999, Lennart Hardell and Mikael Eriksson published a study entitled, “A Case–

Control Study of Non-Hodgkin Lymphoma and Exposure to Pesticides,” which consisted of a

population-based case–control study in northern and middle Sweden encompassing 442 cases and

twice as many controls was performed. Exposure data were ascertained by comprehensive

questionnaires, and the questionnaires were supplemented by telephone interviews. The results

indicated exposure to glyphosate and other herbicides yielded increased risks for NHL.

       42.   In 2002, Julie Marc, et al. published a study entitled, “Pesticide Roundup Provokes

Cell Division Dysfunction at the Level of CDK1/Cyclin B Activation.” The study found Roundup

caused delays in the cell cycles of sea urchins. It further noted the deregulations of cell cycle

checkpoints are directly linked to genomic instability, which can generate diseases and cause

cancer. The findings led to the conclusion Roundup “causes changes in cell cycle regulation that

may raise questions about the effect of this pesticide on human health.”




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       43.    In 2003, A. J. De Roos, et al. published a study entitled, “Integrative assessment of

multiple pesticides as risk factors for non-Hodgkin’s lymphoma among men,” which “[r]eported

use of several individual pesticides was associated with increased NHL incidence, including . . .

glyphosate. A subanalysis of these ‘potentially carcinogenic’ pesticides suggested a positive trend

of risk with exposure to increasing numbers.”

       44.    In 2004, Julie Marc, et al. published a study entitled, “Glyphosate-based pesticides

affect cell cycle regulation.” In that study, which tested Roundup 3plus on sea urchin eggs,

determined “glyphosate-based pesticides are clearly of human health concern by inhalation in the

vicinity of spraying,” given the “molecular link between glyphosate and cell cycle dysregulation.”

It observed, “roundup may be related to increased frequency of non-Hodgkin’s lymphoma among

farmers,” citing the study by A. J. De Roos., et al.

       45.    In 2005, Francisco Peixo published a study entitled, “Comparative effects of the

Roundup and glyphosate on mitochondrial oxidative phosphorylation,” which suggested the

harmful effects of Roundup could be the result of Roundup’s specific combination of chemicals,

and the interaction of glyphosate and the surfactant POEA.

       46.    In 2008, Mikael Eriksson, et al. published a study entitled, “Pesticide exposure as

risk factor for NHL including histopathological subgroup analysis,” based on a case-control study

of exposure to various pesticides as a risk factor for NHL. Eriksson’s study strengthened previous

associations between glyphosate and NHL.

       47.    In 2009, Nora Benachour and Gilles-Eric Seralini published a study entitled,

“Glyphosate formulations induce apoptosis and necrosis in human umbilical, embryonic, and

placental cells,” which examined the effects of four different Roundup formulations on human



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umbilical, embryonic, and placental cells—at dilution levels far below agricultural

recommendations. The study found the formations caused cell death in a few hours in a cumulative

manner, caused DNA damage, and found that the formulations inhibit cell respiration. In addition,

it was shown the mixture of the components used as Roundup adjuvants, particularly POEA

amplified the action of the glyphosate. The Roundup adjuvants actually changed human cell

permeability and increased the toxicity of glyphosate alone.

         48.   This study suggests Roundup poses even greater risks than glyphosate alone, as a

result of Roundup’s specific combination of chemicals, and the interaction of glyphosate and

POEA.

D.        Glyphosate-Based Herbicides, Including Roundup, are Banned Throughout the

          World.

         49.   Following the IARC’s report on glyphosate, several countries have issued outright

bans or restrictions on glyphosate herbicides, including Roundup.

         50.   In May 2015, the Netherlands banned all non-commercial use of glyphosate. See

https://www.collective-evolution.com/2015/05/30/why-the-netherlands-just-banned-monsantos-

glyphosate-based-herbicides/.

         51.   In 2016, Italy adopted a law prohibiting the use of glyphosate in areas frequented by

the public or by "vulnerable groups" including children and the elderly and in the pre-harvest phase

in     agriculture.   See       https://www.soilassociation.org/news/2016/august/italy-bans-toxic-

glyphosate/.




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          52.       In June 2017, the Flemish government approved a ban on glyphosate for individual-

use. See https://www.brusselstimes.com/all-news/belgium-all-news/43150/flemish-government-

approves-ban-on-glyphosate-for-individuals/.

          53.       In September 2018, the agriculture ministry of the Czech Republic stated the country

would ban the blanket use of glyphosate as a weedkiller and as a drying agent. See

https://phys.org/news/2018-09-czech-republic-restrict-glyphosate-weedkiller.html. The ban came

into effect on January 1, 2019. See http://www.arc2020.eu/czech-out-this-roundabout-way-to-not-

ban-roundup/.

          54.       In October 2018, the Indian state of Punjab banned the sale of glyphosate. See

https://www.thehindu.com/news/national/other-states/punjab-government-bans-sale-of-

herbicide/article25314146.ece. And in February of 2019, the Indian state of Kerala followed suit,

issuing         a    ban     on     the        sale,       distribution   and   use   of   glyphosate.   See

https://www.thenewsminute.com/article/kerala-government-bans-glyphosate-deadly-weed-killer-

96220.

          55.       In January 2019, French authorities banned the sale of Roundup following a court

ruling that regulators failed to take safety concerns into account when clearing the widely used

herbicide. See https://www.france24.com/en/20190116-weedkiller-roundup-banned-france-after-

court-ruling. In April 2019, a French appeals court ruled Bayer’s Monsanto business was liable for

the       health         problems         of           a     farmer       who   inhaled    Roundup.      See

https://www.insurancejournal.com/news/international/2019/04/11/523456.htm.




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       56.    In March 2019, Vietnam announced it has banned the import of all glyphosate-based

herbicides.   See   https://sustainablepulse.com/2019/03/25/vietnam-bans-import-of-glyphosate-

herbicides-after-us-cancer-trial-verdict/#.XS-xCT9Kh9O.

       57.    In July 2019, Austria’s Parliament passed a bill banning all uses of glyphosate. See

https://www.reuters.com/article/us-austria-glyphosate/austrian-parliament-backs-eus-first-total-

ban-of-weedkiller-glyphosate-idUSKCN1TX1JR. Although the ban was supposed to take effect

on January 1, 2020, Austria’s Chancellor refused to sign it into law due to a legal technicality. See

https://www.reuters.com/article/us-austria-glyphosate/austrian-leader-blocks-ban-on-weedkiller-

glyphosate-citing-technicality-idUSKBN1YD11Z.

       58.    In January 2020, Luxembourg issued a total ban on glyphosate. See

https://www.brusselstimes.com/all-news/eu-affairs/92006/luxembourg-will-be-first-eu-country-

to-totally-ban-glyphosate/.

       59.    Several municipalities and regions in Spain, the United Kingdom, and the United

States, have also banned glyphosate herbicides.

E.       Monsanto Loses Three Verdicts after Roundup is Found to Cause Cancer in

         Humans.

       60.    On August 10, 2018, a unanimous California jury in Johnson v. Monsanto Co., No.

CGC16550128 (Cal. Super. Ct., Cnty. of S.F.) found Monsanto’s Roundup and Ranger Pro

herbicides were unsafe and were a substantial factor in causing harm to the plaintiff. The jury also

found Monsanto failed to adequately warn customers of the risks associated with its Roundup and

Ranger Pro products, and that the company acted with malice or oppression. The jury awarded the

plaintiff a total of $289 million, with $250 million in punitive damages and $39.25 million in



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compensatory damages. The court later reduced the punitive damages award, bringing the total

award to $78.5 million. Monsanto appealed the judgment and the California Court of Appeal, on

July 20, 2020, affirmed the trial court’s judgment, but reduced the total award to $20.6 million.

       61.    On March 27, 2019, a unanimous California jury in Hardeman v. Monsanto Co., No.

3:16-cv-00525-VC (N.D. Cal.) found Monsanto liable for failing to warn Roundup could cause

cancer, liable for negligence, and liable in a design defect claim. The jury awarded the plaintiff a

total of $80.27 million, with $75 million in punitive damages and $5.27 million in compensatory

damages. The trial judge later reduced the punitive damages award, bringing the total award to

$25.27 million. Monsanto has appealed the judgment and the matter is currently before the Ninth

Circuit Court of Appeals.

       62.    On May 13, 2019, a California jury found Monsanto likely caused a couple’s cancer

in Pilliod v. Monsanto Co., No. RG17862702 (Cal. Super. Ct., Cnty. of Alameda). The jury found

on a preponderance of the evidence Roundup was a significant contributing factor in causing the

plaintiff’s NHL. The jury awarded the plaintiffs a total of $2.055 billion, with $2 billion in punitive

damages and $55 million in compensatory damages. The court later reduced the punitive and

compensatory damages awards, bringing the total award to $87 million. Monsanto has appealed

the judgment and the matter is currently before the California Court of Appeal.

F.       Bayer Agrees to Pay Over $10 Billion to Settle Personal Injury Suits

       63.    Thousands of other personal injury (including wrongful death) claims have been filed

against Monsanto claiming the Product caused the plaintiffs to develop cancer. They have been

coordinated in a multi-district litigation, specifically: In re Roundup Products Liability Litigation,

Case No. 3:16-md-02741 (N.D. Cal.).



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       64.     On June 24, 2020, Bayer Corporation, the maker of Roundup and owner of

Monsanto, announced it had reached a $10.1 billion settlement to resolve tens of thousands of

personal injury cases coordinated in a multi-district litigation (“MDL”) in the Northern District of

California. These cases were brought by individuals who claim their use of Roundup caused their

non-Hodgkin’s (i.e., “NHL”). See In re Roundup Products Liability Litigation, Case No. 3:16-md-

02741, at Dkt. No. 11042 (N.D. Cal. June 24, 2020) (Motion for Preliminary Approval of Class

Action Settlement).

       65.     In addition to the settlement of the individual personal injury cases, was a proposed

$1.1 billion class settlement to resolve a class case seeking certification of an issue class under

Rules 23(b) and (c)(4) “to seek a litigated determination of the general causation dispute on a class-

wide basis.” Id. The MDL class settlement was withdrawn after the judge in the MDL expressed

concerns about the terms. Had the MDL class settlement not been withdrawn and approved, it

would have bound all individuals who were exposed to Roundup but who had not yet retained

counsel. Id.

       66.     Certain MDL class settlement terms and the proposed class notice support Plaintiffs

claims in the instant lawsuit. For example, in the $50 million Monsanto-funded notice plan for the

class settlement, Monsanto agreed to notify the MDL class members of Roundup’s potential to

cause cancer by direct mail, email, posters for retailers to display in their stores, and through multi-

national and local media. Id. As later discussed herein, this is essentially the same form of relief

Plaintiff seeks here: disclosure of Roundup’s potential carcinogenicity in a manner not involving

a label change.




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       67.   If approved, the proposed MDL class notice plan would have alerted MDL class

members to the creation of a registration process to encourage MDL class to come forward and

identify themselves and establish eligibility for certain “class benefits.” Id. The class benefits in

the MDL class settlement included a Diagnostic Accessibility Grant Program (“DAGP”), which is

a medical outreach and assistance program that would have distributed grants to existing medical

clinics and healthcare providers offering diagnostic services to class members who have not been

diagnosed with NHL (representing 18% of the settlement fund). Id. The MDL settlement also

included Interim Assistance Grants (“IAGs”) to compensate class members diagnosed with NHL

for the effects of the delay during the litigation standstill on an as-needed basis (representing 77%

of the settlement fund). Id. Furthermore, the class benefits included a Research Funding Program

(“RFP”), which would have funded medical and scientific research into the diagnosis and

treatment of NHL (representing 5% of the settlement fund). Id. Notice would have been targeted

to “large groups of individuals who may be itinerant, lack exposure to traditional media, or do not

speak English as a first language.” Id.

       68.   The approximately 200-page MDL class settlement agreement also included the

creation of an independent “Class Science Panel,” which would have considered a closed set of

materials and issue “a binding and determinative” answer to the question of whether exposure to

Roundup can cause non-Hodgkin’s lymphoma in humans.. Id. The Class Science Panel would

have been required, under the terms of the proposed class settlement, to issue its causation finding

in four years, but not may do so earlier. Id. In exchange, MDL class members—broadly defined

as anyone ever exposed to Roundup (who, as of June 24, 2020, had not retained counsel)—would

have forever waived their right to punitive damages and be barred from filing a case against



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Monsanto during this four-year period. Id. In the meantime, the $1.1 billion would have been used

to provide immediate relief to diagnose or ameliorate NHL and compensate for delay (by providing

the aforementioned “class benefits”). Id.

        69.   The Class Science Panel’s decision would have been binding on future litigants, and,

in exchange, class members would have forever waived their right to punitive damages. By

agreeing to the creation of this panel and by agreeing to be bound by the result in all future personal

injury litigation, Monsanto acknowledged the existence of an ongoing scientific dispute as to

whether exposure to Roundup has the potential to cause NHL. 4

G.       California’s Classification of Glyphosate as a Chemical Known to Cause Cancer.

        70.   On July 7, 2017, following the IARC’s classification of glyphosate, California’s

Office of Environmental Health Hazard Assessment (OEHHA) listed glyphosate as a chemical

known to the State of California to cause cancer, pursuant to the Safe Drinking Water and Toxic

Enforcement Act of 1986 (“Proposition 65”).

        71.   Proposition 65 prohibits retailers and manufacturers from knowingly and

intentionally exposing California consumers to a chemical known to the State of California to

cause cancer or developmental or reproductive harm without first providing a “clear and

reasonable warning.”




4
  Putative Class Counsel’s swift withdrawal of the motion for preliminary approval of the class
settlement following Judge Chhabria’s comments questioning the viability of the settlement does
not change the fact that Bayer filed a document in Federal Court acknowledging there is a
possibility that exposure to Roundup may in fact cause cancer (and agreed to pay $1.1 billion in
an effort to resolve this dispute).


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       72.   In response to OEHHA’s inclusion of glyphosate on the Proposition 65 list,

Monsanto, CropLife America, and several growers associations filed a motion alleging the IARC

classification of glyphosate is contrary to the international scientific consensus and that requiring

a Proposition 65 warning would be misleading to the ordinary consumer.

       73.   On February 26, 2018, the Eastern District Court of California issued a preliminary

injunction precluding OEHHA from enforcing its Proposition 65 warning requirements against

glyphosate registrants, which would have taken effect on July 7, 2018. This injunction was made

permanent on June 22, 2020. The Court however did not rule that glyphosate should be removed

from the Proposition 65 list.

       74.   On August 7, 2019, EPA’s Office of Pesticide Program (“OPP”) issued a letter to

registrants of glyphosate products (the “OPP Letter”) stating a Proposition 65 warning statement

on glyphosate-based products would be “false and misleading” and would render them misbranded

under FIFRA. The OPP letter was not the product of any formal proceedings, nor was it published

in the Federal Register.

H.       The EPA’s Registration Review for Glyphosate

       75.   Since glyphosate’s first registration, EPA has reviewed and reassessed its safety and

uses, including undergoing registration review, a program that re-evaluates each registered

pesticide on a 15-year cycle.

       76.   In January 2020, after receiving and considering public comments, EPA issued its

Interim Registration Review Decision for glyphosate, finding “there are no risks to human health

from the current registered uses of glyphosate and that glyphosate is not likely to be carcinogenic

to humans.” EPA stated it “will continue to monitor the open literature for studies that use



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scientifically sound and appropriate methodology and relevant routes of exposure that have the

potential to impact the risk evaluation of glyphosate.” 5

        77.   EPA’s review of glyphosate, however, was based on an incomplete and distorted

factual record, largely due to efforts on the part of Monsanto to conceal glyphosate’s risks. As

described herein, Monsanto withheld relevant scientific evidence from EPA, in violation of federal

law, and manipulated the scientific debate about glyphosate-based herbicides by “ghostwriting”

scientific papers.

        78.   Through the numerous personal injury and wrongful death lawsuits filed against

Monsanto, which total in the tens of thousands, Monsanto obtained extensive medical

documentation showing a link between Roundup and various types of cancer.

        79.   The plaintiffs in the three California cases resulting in favorable jury verdicts for the

plaintiffs (as described above) submitted medical records and expert testimony showing that

Roundup caused those plaintiffs to develop cancer. Importantly, all of this medical documentation

and information would have been provided to the Monsanto.

        80.   Despite the exorbitant amount of medical information in Monsanto’s possession that

Roundup and/or glyphosate can cause cancer, as generated just by the three California cases,

Monsanto did not turn any of this information over to EPA.

        81.   Monsanto failed to comply 40 C.F.R. § 159.152, which requires “applicants to

submit, as part of an application for registration, any factual information of which [it] is aware



5
 As of March 2020, multiple groups have sued EPA over its Interim Registration Review Decision
for glyphosate. These groups include Center for Food Safety, Beyond Pesticides, the Rural
Coalition, Organización en California de Lideres Campesinas, the Farmworker Association of
Florida, Natural Resources Defense Council, and Pesticide Action Network North America.

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regarding unreasonable adverse effects of the pesticide on humans or the environment.” Id.

Defendant’s refusal to provide such information, including medical records and information

provided to Monsanto in the thousands of personal injury lawsuits, to EPA constituted deception

by omission and deprived this agency from making an informed decision as to whether Roundup

is safe for human exposure and further deprived the opportunity for EPA from reaching an

informed conclusion regarding Roundup’s potential carcinogenicity.

       82.   Defendant indeed has had a history of misleading the EPA regarding Roundup’s

potential carcinogenicity, by deception and omission.

       83.    Beginning in the 1990s, as numerous studies found an association between Roundup

and Non-Hodgkin Lymphoma (as described herein supra), Monsanto hired Dr. James Parry, a

world-renowned genotoxicologist, to rebut the growing scientific consensus Roundup is

genotoxic. This tactic backfired: Following his review, Dr. Parry provided a report to Monsanto

that “glyphosate is capable of producing genotoxicity both in vivo and in vitro . . . .” Dr. Parry

recommended that Monsanto conduct research on the genotoxicity of glyphosate-based herbicides;

the mechanisms giving rise to genotoxicity; and the relevance of these mechanisms to the safety

of glyphosate-based herbicides.

       84.   Monsanto decided not to conduct the research Dr. Parry asked it to perform. Dr. Parry

offered to conduct the research himself, but Monsanto refused. Monsanto’s goal was not actually

to determine whether glyphosate-based herbicides caused cancer but rather to find an expert that

could influence regulators when genotoxicity issues arise. Monsanto failed to produce the Parry

Report to EPA as required under 40 C.F.R. § 159.158. Because Dr. Parry never came around to




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Monsanto’s view of the science, Monsanto would not let him speak to regulators and his report

was never submitted to EPA.

       85.   Monsanto has also engaged in the practice of “ghostwriting” scientific papers to

establish the safety of glyphosate-based herbicides, which, when published, appear to be authored

by independent academic scientists.

       86.   A noteworthy example is a paper published in 2000 purportedly written by G. M.

Williams, et al. entitled, “Safety evaluation and risk assessment of the herbicide roundup and its

active ingredient, glyphosate, for humans.” This paper concluded “Roundup herbicide does not

pose a health risk to humans.” Although no Monsanto employee is listed as an author, William

Heydens, a Monsanto employee, admits that he wrote the manuscript and provided final edits to

the paper. EPA has consistently relied on this paper when considering the safety of glyphosate-

based herbicides.

       87.   Another example of Monsanto’s surreptitious involvement in the science of

glyphosate can be found in a memo dated August 4, 2015 by Monsanto scientist David Saltmiras,

stating he “ghost wrote cancer review paper Greim, et al. (2015).” That paper, entitled, “Evaluation

of carcinogenic potential of the herbicide glyphosate, drawing on tumor incidence data from

fourteen chronic/carcinogenicity rodent studies,” concluded “glyphosate does not present concern

with respect to carcinogenic potential in humans.” EPA has consistently relied on this paper when

considering the safety of glyphosate-based herbicides.

       88.   Immediately after IARC deemed glyphosate a probable carcinogen, Monsanto

devised a response plan that included convening an expert panel to “[p]ublish comprehensive

evaluation of carcinogenic potential by credible scientists” that could later be used for litigation



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support. It worked with Intertek, an industry consultancy firm, to create a false impression that the

expert panel was independent.

         89.   On September 28, 2016, the “independent” expert panel published its conclusions in

the journal Critical Reviews in Toxicology, in a paper entitled “A review of the carcinogenic

potential of glyphosate by four independent expert panels and comparison to the IARC

assessment.” The paper concluded glyphosate was “unlikely to pose a carcinogenic risk to

humans.”

         90.   Included in the paper was a “Declaration of Interest,” which stated: “[t]he Expert

Panelists . . . were not directly contacted by the Monsanto Company” and that “neither any

Monsanto company employees nor any attorneys reviewed any of the Expert Panel’s manuscripts

prior to submission to the journal.” These statements were blatantly false. Monsanto recruited,

selected, and had direct contact with the experts, some of them receiving payments from Monsanto.

Moreover, Monsanto was engaged in organizing, reviewing, and editing of the drafts, and had

ultimate authority over the paper’s content.

         91.   The foregoing represent just a handful of the many scientific articles ghostwritten by

Monsanto to manipulate the scientific debate about glyphosate-based herbicides, including

Roundup, and to prevent regulators like EPA from learning their true risks.

I.       Monsanto’s Failure to Warn Consumers of Roundup’s Carcinogenic Properties.

         92.   Defendant’s promotion, marketing, advertising, distribution, and labeling of

Roundup leads reasonable consumers into believing Roundup is safe for its intended use, when it

is not. Exposure to Roundup has the potential to cause cancer in humans, as explained herein.




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        93.   Defendant does not warn consumers of Roundup’s potential to cause cancer or, at

least, that there is a vigorous scientific dispute about Roundup’s potential to cause NHL in humans.

        94.   Customers rely on Defendants to offer quality and safe products. But instead of

putting its customers’ safety first and informing consumers about Roundup’s potential health risks,

Defendant manufactured, labeled, and marketed a potentially deadly product without any warning,

all for its own financial benefit.

        95.   Defendant’s focus on its own financial gain is evidenced by its refusal to submit

medical information evidencing a link between Roundup and cancer to EPA.

        96.   Defendant was aware of the substantial danger to consumers while using Roundup,

however Defendant did not notify consumers that exposure to Roundup could potentially cause

cancer, including NHL.

        97.   Defendant could and can notify consumers of the potential health risks by, among

other things, providing information on its webpages for Roundup, in television and radio

commercials, in-store signage, such as point-of-sale or shelf tags, posters, or press releases—yet

has not done so.

        98.   Plaintiff and other consumers were not warned by Monsanto and therefore did not

know that using Roundup exposed them to chemicals that are hazardous and potentially

carcinogenic to humans.

        99.   Whether exposure to Roundup has the potential to cause cancer in humans would be

important in a consumer’s decision whether to purchase Roundup.

        100. The existence of an ongoing scientific debate about whether exposure to Roundup

Products can cause NHL in humans would also be important in a consumer’s decision whether to



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purchase Roundup.

J.         Plaintiff’s Purchase of Roundup

          101. During the Class Period, 6 Plaintiff has resided in Oregon and the State of

Washington.

          102. Plaintiff has purchased Roundup Ready-to-Use Weed & Grass Killer III on multiple

occasions, and his most recent purchase was in December 2018 from a Home Depot 7 located in

Multnomah County, Oregon.

          103. When Plaintiff purchased the Roundup Ready-to-Use Weed & Grass Killer III,

neither the Roundup label, nor in-store advertisements, nor Monsanto’s webpages disclosed

Roundup had the potential to cause cancer or, at the very least, that there was an ongoing scientific

dispute concerning its potential carcinogenicity.

          104. Had Plaintiff known exposure to Roundup had the potential to cause cancer, or that

there was an ongoing scientific dispute concerning its potential carcinogenicity, he would not have

purchased it.

          105. Plaintiff suffered an economic injury because the economic benefit he received in

purchasing the Roundup Ready-to-Use Weed & Grass Killer III was worth less than the economic

benefit for which he bargained due to its potential carcinogenicity.

          106. Plaintiff learned Roundup had the potential to cause cancer after purchasing the

Roundup Ready-to-Use Weed & Grass Killer III. At that time, Plaintiff stopped using the Product,

which had not yet been consumed in its entirety.



6
    The “Class Period” is defined as August 19, 2017 through the date a class is certified.
7
    Home Depot U.S.A., Inc. is a Delaware corporation.

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       107. Plaintiff may purchase Roundup again if he believes Roundup has been

reformulated to remove or mitigate its potential risks. Any such belief would be plausible given

that Bayer recently announced plans to invest $5.6 billion over the next decade developing weed

killers that do not contain glyphosate.

       108. Plaintiff and the Class have been, are, and will continue to be aggrieved by

Defendant’s material omissions. Plaintiff and the Class are being deprived of the benefit of the

bargain because Roundup is worth less than the economic benefit for which they bargained due to

its potential carcinogenicity.

       109. Defendant’s concealment, suppression, or omission of material facts—not only from

Roundup’s label itself but also on the Roundup website in any advertising, marketing, or other

disclosures to consumers—is material because Plaintiff and the Class purchased a product they

believed to be safe, when in fact, Roundup is known to have links to cancer.

                                     CLASS ALLEGATIONS

       110. Plaintiff re-alleges an incorporates by reference the allegations set forth in each of

the preceding paragraphs of this Class Action Complaint as if fully set forth herein.

       111. Plaintiff brings this class action pursuant to Rule 23(b)(2) and 23(b)(3) of the Federal

Rules of Civil Procedure on behalf of himself and all members of the following Class (the “Class”):

       All persons who purchased at least one Product in the United States
       since August 19, 2017.

       112. The following are excluded from the Class: Defendant, its parent company,

subsidiaries, affiliates, and employees; all persons who make a timely election to be excluded from

the Class; governmental entities; and the Judge(s) to whom this case is assigned and any immediate

family members thereof.

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       113. Certification of Plaintiff’s claims for class-wide treatment is appropriate because

Plaintiff can prove the elements of Plaintiff’s’ claims on a class-wide basis using the same evidence

as would be used to prove those claims in individual actions alleging the same claims.

A.       Federal Rules of Civil Procedure, Rule 23(a) Factors.

       114. Numerosity: The members of the Class are so numerous that individual joinder of

all class members is impracticable. The precise number of members of the Class is unknown to

Plaintiff, but it is clear that the number greatly exceeds the number that would make joinder

practicable, particularly given Defendants’ comprehensive distribution and sales network

throughout the United States.

       115. Members of the Class may be notified of the pendency of this action by recognized,

Court-approved notice dissemination methods, which may include U.S. Mail, electronic mail,

Internet postings, in-store signage, shelf tags, and/or published notice in newspapers, magazines,

or other periodicals.

       116. Commonality. This action involves common questions of law or fact, which

predominate over any questions affecting individual members of the Class. All members of the

Class were exposed to Defendants’ deceptive and misleading advertising and marketing claims

and/or omissions alleged herein. Common questions of law or fact include:

               a. whether Defendant, in its promotion, marketing, advertising, and labeling of

                   Roundup, concealed, suppressed, or omitted material facts—i.e. Roundup’s

                   potential to cause cancer;

               b. whether Defendant acted with the intention that others rely on such

                   concealment, suppression or omission;



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                c. whether Defendant’s concealment, suppression or omission of Roundup’s

                    potential to cause cancer is material to reasonable consumers;

                d. whether Defendant’s promotion, marketing, advertising, and labeling of

                    Roundup caused Plaintiff and the Class to suffer an ascertainable loss;

                e. whether Defendant violated the DCFA;

                f. whether Plaintiff and the other members of the Class are entitled to damages

                    under the DCFA; and

                g. whether Plaintiff and the other members of the Class are entitled to injunctive

                    relief and/or declaratory relief under the DCFA.

        117. Defendant engaged in a common course of conduct in contravention of the laws

Plaintiff seeks to enforce individually, and on behalf of the other members of the Class. Similar or

identical statutory legal violations, business practices, and injuries are involved. Individual

questions, if any, pale by comparison, in both quality and quantity, to the numerous common

questions that dominate this action. Moreover, the common questions will yield common answers.

        118. Typicality. Plaintiff’s claims are typical of the claims of the other members of the

Class because, among other things, all members of the Class were comparably injured through the

same uniform misconduct described herein. Further, there are no defenses available to Defendant

that are unique to Plaintiff.

        119. Adequacy. Plaintiff, SCOTT GILMORE, is an adequate representative of the

members of the Class because his interests do not conflict with the interests of the other members

of the Class that Plaintiff seeks to represent. Plaintiff has retained counsel competent and

experienced in complex class action litigation and Plaintiff will prosecute this action vigorously.



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The Class’ interests will be fairly and adequately protected by Plaintiff and Plaintiff’s counsel.

Undersigned counsel has represented consumers in a wide variety of actions where they have

sought to protect consumers from fraudulent and deceptive practices.

B.       Federal Rules of Civil Procedure, Rule 23(b)(2) Factors.

       120. Defendant has acted or refused to act on grounds generally applicable to Plaintiff and

members of the Class, thereby making appropriate final injunctive relief and declaratory relief, as

described herein, with respect to the members of the Class as a whole.

       121. Injunctive relief is necessary to prevent further fraudulent and unfair business

practices by Defendant. Money alone will not afford adequate and complete relief, and injunctive

relief is necessary to restrain Defendant from continuing to sell Roundup without informing its

customers that using Roundup may be carcinogenic.

C.       Federal Rules of Civil Procedure, Rule 23(b)(3) Factors.

       122. Common Issues Predominate: As set forth in detail hereinabove, common issues

of fact and law predominate because Plaintiff’s claims are based on a deceptive common course

of conduct. Whether Defendant’s conduct is likely to harm reasonable consumers and violate the

UCL is common to all members of the Class and are the predominating issues, and Plaintiff can

prove the elements of her claims on a class-wide basis using the same evidence as would be used

to prove those elements in individual actions alleging the same claims.

       123. Superiority. A class action is superior to other available methods for the fair and

efficient adjudication of this controversy for at least the following reasons:




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           a. Given the size of the claims of individual Class members, as well as the resources

               of Defendant, few Class members, if any, could afford to seek legal redress

               individually for the wrongs alleged herein;

           b. This action will permit an orderly and expeditious administration of the claims of

               Class members, will foster economies of time, effort, and expense ad will ensure

               uniformity of decisions;

           c. Any interest of Class members in individually controlling the prosecution of

               separate actions is not practical, creates the potential for inconsistent or

               contradictory judgments and would create a burden on the court system; and

           d. Without a class action, Class members will continue to suffer damages, Defendant’s

               violations of law will proceed without remedy, and Defendant will continue to reap

               and retain the substantial proceeds derived from its wrongful and unlawful conduct.

               Plaintiff and Class members have suffered damages as a result of Defendant’s

               unlawful and unfair conduct. This action presents no difficulties that will impede

               its management by the Court as a class action.

                                      CAUSE OF ACTION

 COUNT I: VIOLATION OF THE DELAWARE CONSUMER FRAUD ACT (“DCFA”),

                               Del. Code Ann. tit. 6, § 2511, et seq.

       124. Plaintiff realleges and incorporates by reference the allegations set forth in the

preceding paragraphs as if fully set forth herein.

       125. The Delaware Consumer Fraud Act (“DCFA”) prohibits any “act, use or employment

by any person of any deception, fraud, false pretense, false promise, misrepresentation, or the



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concealment, suppression, or omission of any material fact with intent that others rely upon such

concealment, suppression or omission, in connection with the sale, lease or advertisement of any

merchandise, whether or not any person has in fact been misled, deceived or damaged thereby . . .

.” Del. Code Ann. tit. 6, § 2513.

        126. The purpose of the DCFA is “to protect consumers and legitimate business

enterprises from unfair or deceptive merchandising practices in the conduct of any trade or

commerce in part or wholly within this State.” Del. Code Ann. tit. 6, § 2512.

        127. Defendant was, at all times relevant hereto, a “person” as defined by Del. Code Ann.

tit. 6, § 2511(7).

        128. Roundup was, at all times relevant hereto, “merchandise” as defined by Del. Code

Ann. tit. 6, § 2511(6).

        129. Defendant engaged in the “sale” and “advertisement” of Roundup as defined by Del.

Code Ann. tit. 6, §§ 2511(1), (8), 2513.

        130. Defendant indeed was responsible for the manufacture, promotion, marketing,

advertising, distribution, labeling, and sale of Roundup.

        131. Defendant concealed, suppressed, or omitted material facts with intent that others

rely upon such concealment, suppression or omission, in violation of Del. Code Ann. tit. 6, § 2513.

        132. Specifically, Defendant failed to disclose—on the Roundup label, on its webpages,

on in-store advertisements, and through other means of disclosure—Roundup’s potential to cause

cancer including, at the very least, the existence of an ongoing scientific debate as to whether

exposure to Roundup can cause NHL in humans.

        133. Defendant should have been aware of the risks of Roundup due to the information



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available to it, particularly since Defendant manufactures the Products, supra.

       134. The facts Defendant concealed, suppressed, or omitted are material because a

reasonable consumer would consider them important factors in deciding whether to purchase

Roundup.

       135. Defendant’s omissions were uniform and material and constituted a continuing

course of conduct of misleading and deceptive business practices.

       136. Plaintiff did not know exposure to Roundup has the potential to cause cancer at the

time he purchased it. Plaintiff would not have purchased Roundup had he known it had the

potential to cause cancer, or that there has been an ongoing scientific debate as to whether exposure

to Roundup can cause NHL in humans.

       137. Plaintiff suffered an economic injury because the economic benefit he received in

purchasing Roundup was worth less than the economic benefit for which he bargained due to its

potential carcinogenicity.

       138. Plaintiff may purchase Roundup again if he believes it has been reformulated to

remove or mitigate its potential risks.

       139. Plaintiff is entitled to bring this Action under the DCFA for damages. See Del. Code

Ann. tit. 6, § 2525 (“A private cause of action shall be available to any victim of a violation of this

subchapter”).

       140. Plaintiff is also entitled to injunctive relief under the DFCA. See Del. Code Ann. tit.

6, § 2523. For example, Plaintiff alleges an order requiring Defendant to notify consumers of

Roundup’s potential to cause cancer (or, at least, the existence of a scientific dispute about whether

exposure to Roundup causes NHL) may be appropriate. Defendant could disclose this information



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on its webpages for the Roundup products, by asking retailers to post notice near where Roundup

is sold, and/or presenting this information through various media, for example, on local television

and radio, in consumers magazines, and on social media—all of which may be accomplished

without changing the Roundup label.

       141. Plaintiff is entitled to reasonable costs and attorneys’ fees in pursuit of this Action.

       142. Plaintiff seeks all available remedies, damages, and awards as a result of Defendants

violations of DCFA.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually, and on behalf of all other similarly situated,

prays for relief pursuant to each cause of action set forth in this Complaint as follows:

    i. For an award of equitable relief for the cause of action set forth in Count I as follows:

           a. Enjoining Defendant from continuing to engage, use, or employ any unlawful

               business acts or practices related to the manufacture, promotion, marketing,

               advertising, distribution, and sale of Roundup in violation of the DCFA;

     ii. For actual damages in an amount to be determined at trial for the cause of action set forth

         in Count I;




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  iii. For an award of attorney’s fees and costs;

  iv. For any other relief the Court might deem just, appropriate, or proper; and

   v. For an award of pre- and post-judgment interest on any amounts awarded.


                                          Respectfully submitted,

   DATE: August 19, 2020                  RHODUNDA WILLIAMS & KONDRASCHOW

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                                          Counsel for Plaintiff, Scott Gilmore




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08/19/2020                                                        /s/ William J. Rhodunda, Jr. (No. 2774)
)252)),&(86(21/<

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